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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                        MIAMI DTVISION

                   CASE NO. : 1 : 1 7- gv-24206-MARTINEZ -OT AZO-REYES


 LARA GEORGE MANSOUR AMA LARA
 SAMAHA, Married name;

                Plaintiff,
 V


 MONA BACH MANSOUR, individually;
 ALEXANDER GEORGE MANSOUR,
 individually; ROLLY                GEORGE
 MANSOUR, individually; DANY GEORGE
 MACARON, individually; FADI WADIH
 LAYOUN, individually; RABIH JAMIL
 NOUREDDINE,               individually;
 MOHAMMED ALI BARBAR, individually;
 ALI AHMAD BOU HAMDAN,
 individually; MARLENE WADIH
 LAYOUN, individually; AMIRA AHMAD
 MARABOUNI, individually; SALIM
 JREISSATI, individually; ZIAD
 MEKANNA, individually; SAMIR
 HAMMOUD, individually; ZIAD ABO
 HAIDAR, individually; and           PASCAL
 ANTOUN, individually,

                Defendants.



        PLAINTIFF''S MOTION F'OR RELIE F'F'ROM A .IIIDGMENT OR ORDER
                        PURSUANT TO FED. R. CIV. P. 60

        Plaintiff, Lara George Mansour alWa Lara Samaha ("Mansour"), by and through the

 undersigned counsel, hereby files this Motion for Relief from a Judgment or Order Pursuant to

 Rule 60 of the Federal Rules of Civil Procedure, and in support thereof states as follows:
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                                             STATEMENT OF FACTS

           1.       On October 17, 2018, Plaintiff filed her Amended Complaint raising various

 claims against the Defendants, including claims for fraudulent misrepresentation, fraud, forgery,

 conspiracy, conversion, and constructive trust. See Pl.'s Am. Compl. The thrust of Mansour's

 claims against Defendants are that the Defendants are all equal participants in a well-orchestrated

 conspiracy that was planned and executed with the intent to financially harm Mansour by robbing

 her of her interests in both her father, George Mansour's, and aunt, Evelyn Mansour's estate. See

 Pl.'s Am. Compl. at 5.

          2.        In   specific, Mansour alleges that around October 2014, family members of

 Mansour took advantage of her and the factthat she was residing in the United States by taking

 millions of dollars directly from the Lebanese and United States bank accounts of her father and

 aunt through fabricated and forgedpowers of attomey. See Pl.'s Am. Compl. at4. Mansour further

 alleges that such family members accomplished this scheme to defraud through the assistance                         of

 several Lebanese officials.        ,See   Pl.'s Am. Compl. at4-5.

          3.        According to the Amended Complaint, before filing this lawsuit, Mansour made

 repeated attempts and pleas to her family members to retum the stolen assets. See Pl.'s Am.

 Compl. at 5-6. When her requests went unanswered, Mansour made reports to the Lebanese

 authorities.   ,See   Pl.'s Am. Compl. at 6.

          4,        Charges for theft and related charges were               initially filed in Lebanon against several

 of the individuals involved. See Pl.'s Am. CompI. at 6. However, the comrption, bribery, and

 manipulation by members of the Lebanese legal system have prevented Mansour from recovering

 any portion of her interest in her father's estate.            ,See   Pl.'s Am. Compl. at 6.




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          5.      Based upon continuous roadblocks and a lack of action on the part of Lebanese

 officials, Mansour was forced to engage the undersigned counsel and file this lawsuit in the hopes

 of finally being able to obtain relief from this scheme to defraud and recover her interest. See Pl.'s

 Am. Compl. at    8.


          6.      In the instant lawsuit, Mansour brings claims against various family members and

 Lebanese offrcials believed to be involved in the scheme to defraud Mansour, such as: Defendant

 Dany George Macaron (a local Lebanese attorney working with the mother, brother, and sister),

 Defendant Salim Jreissati (Lebanon Former Minister           of Justice),   Defendant Ziad Mekanna

 (Lebanon Presiding Judge), Defendant Samir Hammoud (Lebanon Former Prosecutor),

 Defendant Zlad    ltbi Haidar (Lebanon Prosecutor).   See   Pl.'s Am. Compl. All of the Defendants

 are believed    to have been involved in illegally and unlawfully conspiring and          assisting in

 absconding the currency and land of Mansour's aunt and father for purposes of intentionally and

 willfully depriving Mansour of her interests in the same.    ,See   Pl.'s Am. Compl.

          7.      On March 25,20L9, a Clerk's Default was entered against Defendants: Rolly

 George Mansour, Mona Bach Mansour, Marlene Wadih Layoun, Fadi Wadih Layoun, Dany

 George Macaron, and Alexander George Mansour.

          8.      Shortly thereafter, on April 2,2019,Mansour traveled to Lebanon after being lured

 into the country by some of the Defendants with promises that the disputes over her father and

 aunt's estate would be settled. But upon arriving at Beirut International Airport, Mansour was

 immediately arrested and informed of a warrant out for her arrest. Mansour was transferred to a

 detention center in Beirut and informed that her charges related to her filing of this federal lawsuit

 and clerk's default. Mansour was tortured and kept in a small steel cage      with no light or windows

 and no food or drink.


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          9.      On April 3,2019, Mansour was transferred to the Information division of the

 Intemal Security Forces Directorate ("ISF"), Lebanon's national police, where she                       was

 interrogated the entire day about the federal lawsuit and clerks defaults. It was there that she was

 informed the arrest warrant was issued by Lebanese prosecuto4 Zaher Hemede. After the

 interrogation, Mansour was transferred to an underground cell located in the ISF.

          10.     That same day, Mansour's husband, Elie Samaha ("Mr. Samaha") visited the new

 Minister of Justice, Albert Serhan ("Minister Serhan") to request the release of Mansour. Minister

 Serhan demanded that the federal lawsuit and entry               of the clerk's default be         dismissed

 immediately in order to release Mansour. According to Minister Serhan, Mansour would serve                as


 an example to anyone who dares seek justice in the courts of the United States. It was obvious to

 Mr. Samahathat Minister Serhan was involved in the kidnapping and hostage taking of Mansour

 and that Defendant, Ziad Abl Haidar, was also involved. Shortly thereafter,        Mr.   Samaha was also

 arrested and transferred to an underground cell. This occurred despite the fact that Elie is not

 connected to the case in anyway and has not filed or participated in the federal lawsuit against

 any of the defendants. Mr. Samaha's arrest was purely to place pressure upon Lara to dismiss the

 Federal Lawsuit and clerks defaults against some of the defendants.

          11.     Demands     to drop this lawsuit with prejudice in       exchange   for the   release    of

 Mansour and Mr. Samaha and to avoid a three (3) year jail sentence with hard labor were made

 by Lebanese officials through their lawyers in Lebanon (Defendant Dany Macaron and Non-Party

 Majid Bouez).

          12.     On April 4,2019, having no other option, Mansour was forced to file           a   Notice of

 Voluntary Dismissal with Prejudice [ECF 81] dismissing all claims against all of the Defendants.




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         13.     The following day on April 5,2019, this Court entered a Final Order of Dismissal

 with Prejudice [ECF 82] dismissing the action with prejudice, denying as moot all pending

 motions, and closing the case.

         14.     As set forth below in more detail, this Honorable Court should relieve Mansour

 from the Final Order of Dismissal pursuant to Rule 60 of the Federal Rules of Civil Procedure

 and vacate the order because Mansour has demonstrated both the existence of fraud,

 misrepresentation,     or   misconduct   by an opposing party under Rule 60(b)(3), as well         as


 extraordinary circumstances under Rule 60(b)(6).

                                              ARGUMENT

         Pursuant to Rule 60(b) of the Federal Rules of Civil Procedure, this Court has the inherent

 authority to provide relief from an order of dismissal. Fed. R. Civ. P. 60(b). Rule 60 provides, in

 relevant part, that:

          (b) Grounds for Relief from a Final Judgment, Order, or Proceeding. On motion
          and just terms, the court may relieve aparty or its legal representative from a final
         judgment, order, or proceeding for the following reasons:

         (3) fraud (whether previously called intrinsic or extrinsic), misrepresentation, or
         misconduct by an opposing party;

         (6) any other reason thatjustifies relief.

 Fed. R. Civ. P. 60(b). Thus, Rule 60(b) provides relief from an order of the Court for

 "fraud...misrepresentation, or misconduct by an opposing party" and for "any other reason that

 justifies relief." Fed. R. Civ. P. 60(b).

         The facts in this case require relief from the Final Order of Dismissal because Mansour is

 able to demonstrate two grounds for vacating the order: (1) fraud, misrepresentation, or

 misconduct by an opposing party under Rule 60(bX3) and (2) extraordinary circumstances under

 Rule 60(b)(6). See Fed. R. Civ. P. 60(b).

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           a. Monsour has demonstrated fraud. misrepresentation. or                                           misconduct    by    an
                 opposing partv under Fed. R. Civ. P. 60(bX3).

           First, this Court should vacate the Final Order of Dismissal because Mansour                                          has

 demonstrated fraud, misrepresentation, or misconduct by an opposing party under Rule 60(bX3)

 of the Federal Rules of Civil Procedure. Fed. R. Civ. P. 60(b).

           "[A] court can always                    set aside a decision that was obtained from               it by fraud." Cord   v.


 smith,370 F.2d 418, 423 (9th Cir. 1966) (citing Hazel-Atlas Glass Co. v. Hartford-Empire Co.,

 322 U.S. 238, 239 (1944)). Rule 60(b) provides relief from an order of the Court due to

 "fraud...misrepresentation, or misconduct by an opposing party." Fed. R. Civ. P. 60(b). This rule

 is "liberally construed" and "aimed at Judgments which are unfairly obtained."' In re Jack Kline

 Co.,440 B.R. 712, 718 (Bankr. S.D. Tex. 2010).

           Rule 60(b)(3) requires a moving party to "show that the adverse party committed                                          a

 deliberate act that adversely impacted thefairness of the relevant legal proceeding in question."

 Hughesv. Gallion,No.2:15-CV-30-JRG-MCLC,2018 U.S. Dist. LEXIS 51256,at x1 (E.D. Tenn.

 Mar.28,2018) (emphasis added). FraudunderRule 60(b)(3) includes situations inwhich:

           by reason of something done by the successful party to a suit, there was in fact no
           adversary trial or decision of the issue in the case...ft]raditional examples of
           extrinsic fraud include keeping the unsuccessful party away from the court by a
           false promise of a compromise, or purposely keeping him in ignorance of the suit;
           or, where an attorney fraudulentlypretends to representapnty, and connives at his
           defeat or, being regularly employed, comrptly sells out his client's interest. It
           includes also instances in which a judgment is obtained by coercion or duress.

  Chevron Corp. v. Donziger,886 F. Supp. 2d235,238 (S.D.N.Y.2012) (emphasis added).

  "fD]uress is 'any wrongful threat of one person by words or other conduct that induces another

  to enter a transaction under the influence of such fear                              as   precludes him from exercising free   will

  and    judgment."' Evenson v. Sprint/United Mgmt. Co., Civil Action No. 3:08-CV-0759-D,                                    201    1



  U.S. Dist. LEXIS 94167, at*17 (N.D. Tex. Aug. 23,2011).

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          Here, the Final Order of Dismissal was unfairly obtained by coercion and duress. This

  constitutes fraud under the meaning              of Rule 60(b)(3).        See Fed.     R. Civ. P. 60(b)(3). The

  kidnapping and hostage taking of Mansour and Mr. Samaha by Lebanese officials (some of whom

  are Defendants       in the instant lawsuit) was a deliberate act done by the Defendants that adversely

  impacted the fairness of this lawsuit because, as a result of Defendants' fraud, the Final Order of

  Dismissal was entered, depriving Mansour of the right to have this case decided on its merits.

          The coercive demands made by the Defendants to Mansour and Mr. Samaha to dismiss the

  instant lawsuit with prejudice to avoid three (3) years jail with hard labor and in exchange for

  their release forced Mansour to file a Notice of Voluntary Dismissal under the influence of fear

  and under circumstances that prevented her from exercising her own free                       will   and judgment.   It

  cannot be seriously disputed that Mansour was coerced into taking such action under these

  circumstances constituting extreme duress and torhre.

          For over a week, Lebanese officials kept Mansour and Mr. Samaha in underground cells

  with no windows or light and, sometimes, with no food or drink. What's worse, Prosecutor Peter

  Germanos, made several attempts to relocate Mansour and Mr. Samaha from their respective cells

  at the ISF to an undisclosed location in order to physically and mentally torture and humiliate

  them and to prevent them from returning to the United States for fear of filing another Federal

  Lawsuit. Thankfully, the ISF with the assistance if the United States Embassy in Beirut, Consular

  Affairs rejected such requests due to a fear for their lives.

          Defendants simply should not be permitted to profit from their own malfeasance. After

  Mansour filed the Notice of Voluntary Dismissal, Mansour and Mr. Samaha were presented to

  judge, Farid Ajib, who subjected Mr. Samaha to personal attacks and accusations that he was an

  "American gangster." Judge Ajib also ridiculed both the United States and the United States


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  judicial system and the State of Florida and asked Mansour whether     she had "learned her lesson"

  to never file a federal lawsuit in the United States ever again.

          As a result of the hearing, Judge Ajib with the collaboration of Defendant's and Lebanese

  Attoreny Majid Bouez did not dismiss the charges against Mansour and Mr. Samaha. lnstead,

  Judge   Ajib kept the charges pending to ensure that Mansour and Mr. Samaha would not attempt

  to file federal lawsuits against the Defendants again in the future and threatened Lara with           a


  judgment of three (3) years in prison would be entered against them and their assets in Lebanon

  would be confiscated through Court Judgments and their lives will be in danger        if   any Federal

  Lawsuits were ever filed again.

          Under the facts of this case, Rule 60(bX3) must be applied to vacate the Final Order of

 Dismissal that was unfairly obtained. Vacating the Final Order of Dismissal is the only way to

 ensure fairness and that this case is decided on its merits. Thus, this Court should vacate the Final

 Order of Dismissal pursuant to Rule 60(b)(3) of the Federal Rules of Civil Procedure.

          b.   Monsour has demonstrated extraordinarv circumstances under Fed. R. Civ. P.
               60ftxfl.
          Second, this Court should vacate the Final Order       of Dismissal because Mansour        has


 demonstrated extraordinary circumstances under Rule 60(b)(6)          of the Federal Rules of Civil

 Procedure. Fed. R. Civ. P. 60(bX6).

          Rule 60(b) provides relief from an order of the Court for "any other reason that justifies

 relief." Fed. R. Civ. P. 60(b). "It is well settled that relief under clause (6) may be granted in

 unusual and exceptional cases only." In re Ireco Indus., Inc.,2 B.R. 76, 84 (Bankr. D. Or. 1979).

 "[W]hen a case is properly within clause (6) the court has broad legal discretion to grant or deny

 relief in light of all the relevant circumstances." Id. However, "Rule 60(b)(6) should be liberally

  applied to accomplish justice." 1d.

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          Here, Mansour's and Samaha's kidnapping and hostage taking by Lebanese officials is an

 unusual and exceptional circumstance that attempted rob Mansour of her right to her day in court.

 It is only through vacating the Final Order of Dismissal pursuant to Rule 60(bX6) that justice may

 be accomplished in this case through deciding this case on its merits. Thus, under the facts of this

 case, this Court should vacate the Final Order                  of Dismissal pursuant to Rule 60(bX6) of the

 Federal Rules of Civil Procedure.

          WHEREFORE, the Plaintiff, Lara George Mansour aMa Lara Samaha ("Monsour"),

 respectfully requests that this Honorable Court grant the instant Motion and enter an order vacating

 this Court's Final Order of Dismissal with Prejudice entered on April 5,2019, and allow the case

 to proceed on its merits, and for any other relief this Court deems is just and proper.

                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 3'd day of June ,2019,I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this day on all counsel of record identified on the service list via hansmission of

 Notices of Electronic Filing generated by CM/ECF.


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